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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                                Plaintiff,              Case No. 2:14-CR-00136-RSL

10          v.                                            DETENTION ORDER

11 LEVI HERZ,

12                                Defendant.

13          The Court has conducted a detention hearing under 18 U.S.C. § 3142(f), and concludes

14 there are no conditions which the defendant can meet which would reasonably assure the

15 defendant’s appearance as required or the safety of any other person and the community.

16         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

17          Defendant is charged with a crime that carries a presumption of detention that he has not

18 overcome. He has a lengthy criminal history, substance abuse problems and past failures to either

19 comply with court orders or appear for hearings. He further has no residence to release to.

20          It is therefore ORDERED:

21          (1)    Defendant shall be detained pending trial and committed to the custody of the

22 Attorney General for confinement in a correctional facility separate, to the extent practicable,

23 from persons awaiting or serving sentences, or being held in custody pending appeal;



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 1         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

 2 counsel;

 3         (3)     On order of a court of the United States or on request of an attorney for the

 4 Government, the person in charge of the correctional facility in which Defendant is confined

 5 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

 6 connection with a court proceeding; and

 7         (4)     The Clerk shall provide copies of this order to all counsel, the United States

 8 Marshal, and to the United States Probation and Pretrial Services Officer.

 9         DATED this 15th day of May, 2014.

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                                                                 A
                                                         BRIAN A. TSUCHIDA
                                                         United States Magistrate Judge
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     DETENTION ORDER - 2
